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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 NATHANIEL SPENCER, III,

        Plaintiff,
                                                   Case No. 1:18-cv-194
 v.
                                                   HONORABLE PAUL L. MALONEY
 EXPERIAN INFORMATION
 SOLUTIONS, INC., et al.,

        Defendants.
 _________________________/


        ORDER GRANTING MOTION FOR LEAVE TO AMEND COMPLAINT

       Pending before the Court is Plaintiff's motion for leave to file amended complaint (ECF

No. 14). Upon due consideration of the motion by the Court, the motion is GRANTED. The

proposed document (ECF No. 16) is deemed filed instanter.

       IT IS SO ORDERED.



Dated: April 17, 2018                                        /s/ Paul L. Maloney
                                                            Paul L. Maloney
                                                            United States District Judge
